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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANlA

 

ln re: Complaint Permanent & Other Relief 1St C|ass US Certifled Mail No.
70172400000016307376 RRR
Friday June 01, 2018

Consumer Financial Protection

Bureau,
Plaintiff, Case No. 311 7- cv-00101-RDl\/l
Filed on 01/182017 by CFPB
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Navient Corporation; Navient .

Solutions, lnc.; and Pioneer SCHANTON

Credit Recovery, lnc. JUN 0 5 2018

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Defendants, PER
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Glenn Greene as an individual so similarly situated in the actions

 

as stated above per the Plaintiff i.e. the Consumer Financial Protection
Bureau. May this Honorab|e Court be so advised that l Glenn Greene, a Stu-
dent Loan Recipient per Account No. 9438760965 and in conjunction with his
past due loans administered by Navient Corporation by and thru the U.S.
Department of Education, and per the above stated Bureau who has brought
this action per the Consumer Financia| Protection Act of 2010 (CFPA), 12

U.S.C 553, 5531, 5536(a), 5564, 5565; along with the Fair Credit Reporting Act

(FCRA), 15 U.S.C., 1681 et seq., and its implementing regulation V, 12 C.F.R.

 

 

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part 1022; and the Fair Debt Co|lection Practices Act (FDCPA), 15 U.S.C., 1692
et seq., based unlawful acts and practices in connection with Defendants’ ser-
vicing and collection of student |oans. The C.F.R.B. seeks to obtain permanent
injunctive relief for Defendants’ violations of Federal consumer financial laws.

Navient Corporation, formerly known as Sallie Mae, lnc. is the lar-
gest student loan servicer in the United States. Navient services loans of more
than 12 million borrowers, including 6 million customer accounts including the
account of Glenn Greene, under contract with the U.S. Department of Education,
and more than $ 300 billion in federal and private loans

Navient principal responsibilities as a service provider including maria
ging borrowers accounts; processing monthly payments; assisting borrowers to
learn about, enroll in and remain in alternative repayment plans; and communi-
cating directly with borrowers about the repayment of the borrowers loans.

Navient has failed to perform its core duties in the servicing of stu-
dent loans, violating Federal consumer financial laws as well as the trust the bor-
rowers placed in this company. Federal student borrowers have the right under
federal law to set their monthly loan payment as a share of their income, an ar-
rangement that can offer borrowers extended payment relief and other significant
benefits Navient systematically deterred according to the C.F. P.B. numerous
borrowers from obtaining access to some or all of the benefits and protections
associated with the student loan plans. Despite through their public pronounc-

ments that it would help them find the right repayment option for their unique

 

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circumstances Navient steered some borrowers experiencing financial hardship
that was not short-term or temporary into costly payment relief designed for some
borrowers experiencing short-term financial problems before or instead of afford
able long-term repayment options that were more beneficial to borrowers in lieu
of their financial situation

Navient failed to disclose the annual deadline per the long term
plans to renew per borrowers who did enroll in long-term payment plans The
company misrepresented the consequences of non-renewal, and obscured its
renewal notice to borrowers who were due for renewal As a result, the afford-
able payment amount expired for a large number of borrowers, resulting in an
immediate increase in their monthly principal, interest and debt servicing pay-
ments resulting in negative credit accounts and records with credit agencies.

Navient unethical practices, which prevented myself as a
vulnerable borrower in the workforce due to a number of employment com-
plaints filed against several companies and federal agencies which are docu-
mented, and Greene has have attempted to explain to Sallie Mae and
Navvient the circumstances in regard to Greene inability to pay his student
loan debts over the years, resulting in a constant stream of interest payments
which are highly prevalent in the case of minority and women students
Navient has also been alleged to misreport information to consumer reporting
agencies against Veterans and partially and permanent disable individuals, and

repeated the same errors in processing federal and private student loan borro-

 

 

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wers payments month after month and in Greene case year after year.
Even after Greene complained to Navient about the errors and mistakes Regu-
lation V requires a loan furnisher to establish and implement reasonable written
policies and procedures regarding the accuracy and integrity of the information
relating to consumers that it furnishes to a consumer reporting agency. 12 C.F.R.
1022.42(a). Navient has violated V. Greene request that this Court grant appro-
priate or equitable relief with respect to the violation to federal consumer finan-
cial law, including without limitation, a permanent injunction, recession or re-
formation of contracts the refund and or cancellation of interest income or
servicing fee(s), restitution, disgorgement or compensation for unjust enrich-
ment, and civil money penalties 12 U.S.C., 5565.
PRAYER FOR REL|EF
WHEREFOR, Glenn Greene request that this Court:

a.) Permanently enjoin Defendants from committing future violations of
The CFPA, FCRA, Regulation V, the FDCPA, or any other provision of federal
consumer financial law, as defined by 12 U.S.C., 5481(14); b.) Order Defendant
(s) to institute appropriate injunctive relief and disgorgement of ill-gotten revenue
against Defendants, c.) impose civil money penalties against Defendants, d.) Or-
der the rescission or reformation of contracts where necessary to redress injury
to consumers, e.) Award additional relief as the Court may determine to be just

and proper. (Continue to Page Five).

 

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Respectfully Submitted,

Glenn Greene P.O. Box 73562 Washington, D.C. 20056-3562

Cc: 1St Class l\/lail
a.) lVlr. Clarence Connelly, Esq. Attorney at |_aw
& Arbitrator, Pro Bono, Washington, D.C. 20017
b.) The District of Columbia Student Bar Association, 20005
c.) Bread for the City Legal Aid Services, 20001
d.) Consumer Financia| Protection Bureau, 20552
1st Class U.S. Certified No. 70172400000016307383

CERT|F|CATE Of N|AlL|NG

This correspondence was submitted and mailed by 1St Class U.S. Mai| Certified
No. 70172400000016307376 R.R.R. on Friday June 01, 2018 by Glenn Greene
to the Office of the Clerk of the United States District Court for l\/liddle District of
Pennsylvania P.O. Box 148, 235 N. Washington Avenue Scranton, PA. 18501-

 

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09 0 c C C\,\",:\\\ " My commission expires January 14, 2023.

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